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1                                                                                 Judge Burgess
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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT TACOMA
10   UNITED STATES OF AMERICA,                     )
                                                   )       NO. CR05-5504FDB
11                          Plaintiff,             )
                                                   )
12                  v.                             )       ORDER GRANTING
                                                   )       CONTINUANCE OF TRIAL
13   WALTER BOYD McILWAIN,                         )       AND RELATED DATES
     ALEJANDRO BARRAGAN,                           )
14   RICHARD DENNIS MILLER,                        )
     CHARLES CLAY WINANS,                          )
15   BRANDON LEE PENN, and                         )
     JOSE MENDOZA,                                 )
16                                                 )
                            Defendants.            )
17                                                     )
18           THIS MATTER comes on before the Court on the motion to continue the trial date raised
19   by counsel for defendant’s Brandon Lee Penn, Walter Boyd McIlwain, Alejandro Barragan,
20   Richard Dennis Miller, Charles Clay Winans and Jose Mendoza. The defendant’s counsel having
21   agreed to the continuance as well as counsel for the government, the court finds that:
22           1. The trial in this matter is scheduled for September 6, 2005, at 9:00 a.m. The pretrial
23   cut off date was set at August 1, 2005, and the pretrial conference was scheduled for August 17,
24   2005.
25           2. Discovery was not received until August 1, 2005, there is a need for substantial
26   investigation. Counsel will need time to prepare for trial and all counsel agree that to be
27   adequately prepared, the trial date and the pre-trial motions date and conference dates should be
28   extended.


     Order/U.S. v. McIlwain, et al. - 1                                                  UNITED STATES ATTORNEY
                                                                                         1201 PACIFIC AVENUE, SUITE 700
     CR05-5504FDB                                                                         TACOMA, WASHINGTON 98402
                                                                                                 (253) 428-3800
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1            3. The defendant’s understand that to be adequately represented that a continuance is
2    necessary.
3            4. The government consents to the continuance.
4            5. The ends of justice outweigh the best interests of the public and the defendant to a
5    speedy trial. Failure to grant the continuance would deny counsel for Defendant’s adequate time
6    to effectively prepare for trial.
7            NOW, THEREFORE,
8            IT IS HEREBY ORDERED that the trial date is continued from September 6,
9    2005 to December 5, 2005. The resulting period of delay from September 6, 2005, up to
10   and including the new trial date of December 5, 2005, is hereby excluded for speedy trial
11   purposes under 18 U.S.C. § 3161(h)(8)(A) and (B).
12           Pretrial motions are due no later than September 14, 2005.
13
             DATED this 16th day of August, 2005.
14

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16
                                                      /s/ Franklin D Burgess
17                                                 FRANKLIN D. BURGESS
                                                   United States District Judge
18

19
     Presented by:
20

21
     s/ Gregory A. Gruber
22
     GREGORY A. GRUBER
     Assistant United States Attorney
23

24   /s/ Roger A Hunko
     Roger A Hunko
25   Attorney for Defendant
26   /s/ Linda R Sullivan
     Linda R Sullivan
27   Attorney for Defendant
28


     Order/U.S. v. McIlwain, et al. - 2                                                  UNITED STATES ATTORNEY
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                                                                                                 (253) 428-3800
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1    /s/ Charles A Johnston
     Charles A Johnston
2    Attorney for Defendant
3    /s/ Keith Alexander MacFie
     Keith Alexander MacFie
4    Attorney for Defendant
5    /s/ Michael Edward Schwartz
     Michael Edward Schwartz
6    Attorney for Defendant
7    /s/ Phil L Brennan
     Phil L Brennan
8    Attorney for Defendant
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     Order/U.S. v. McIlwain, et al. - 3                                     UNITED STATES ATTORNEY
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